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                            UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC (AGT)


This document relates to:                         DISCOVERY ORDER

Hayes v. Monsanto Co., 21-cv-00965-VC             Re: MDL Dkt. No. 20705

                                                  Related Case Dkt. No. 54


       1. Plaintiffs want to depose Red River. Because Red River is moving for summary

judgment (MDL Dkt. 20534), plaintiffs need to establish that the deposition is warranted under

Rule 56(d). See Stevens v. Corelogic, Inc., 899 F.3d 666, 678 (9th Cir. 2018). Judge Chhabria,

as the presiding judge, will resolve the summary judgment motion. Unless and until he grants

relief under Rule 56(d), plaintiffs may not depose Red River.

       2. Red River wasn’t required to appear for a deposition on May 29, 2025. Red River

objected to the deposition two weeks before May 29, asked to meet and confer, and plaintiffs

didn’t timely respond. The Court ordered plaintiffs to meet and confer on threat of sanctions.

MDL Dkt. 20674. Implicit in that order was that the deposition wouldn’t take place until the

parties met and conferred and either resolved Red River’s objections or, upon a continued


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  impasse, filed a joint statement and the Court rejected those objections. Those prerequisites

  didn’t happen, so Red River was excused from appearing for a deposition on May 29.

       IT IS SO ORDERED.

Dated: June 6, 2025


                                                          ALEX G. TSE
                                                          United States Magistrate Judge




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